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                                                  UNITED STATES DISTRICT COURT
                                                   MIDDLE DISTRICT OF FLORIDA
                                                        ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                                                       Case No. 6:08-cr-61-Orl-18DAB

DANIEL PANDIELLO
 a/k/a Santiago Alvares
 a/k/a Ernesto Rios
ANA MONTERO

                                       NOTICE OF PENDENCY OF OTHER ACTIONS

             In accordance with Local Rule 1.04(c), I certify that the instant action:


  : IS                                  related to pending or closed civil or criminal cases previously filed in
                                        this court, or any other Federal or State court, or administrative
                                        agency as indicated below:

                                        Volusia County (FL) Circuit Case No. 2007-33819CFAES


  9 IS NOT                              related to any pending or closed civil or criminal case filed with this
                                        Court, or any other Federal or State court, or administrative agency.

             I further certify that I will serve a copy of this NOTICE OF PENDENCY OF OTHER

ACTIONS upon each party no later than eleven days after appearance of the party.

Dated: March 14, 2008

                                                                                         Respectfully submitted,

                                                                                         ROBERT E. O’NEILL
                                                                                         United States Attorney


                                                                                By:      s/ Robert E. Bodnar, Jr.
                                                                                         Robert E. Bodnar, Jr.
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U.S. v. DANIEL PANDIELLO                                                                       Case No. 6:08-cr-61-Orl-18DAB



                                                          CERTIFICATE OF SERVICE

             I hereby certify that on March 14, 2008, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to the following:

             None

             I hereby certify that on March 14, 2008, a true and correct copy of the foregoing

document and the notice of electronic filing was sent by United States Mail to the following

non-CM/ECF participant(s):

             None



                                                                                         s/ Robert E. Bodnar, Jr.
                                                                                         Robert E. Bodnar, Jr.
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